Case 2:04-cv-02522-.]DB-dkv Document 26 Filed 07/20/05 Page 1 of 2 Page|D 27

IN THE UNITED sTATES DISTRICT COURT F"“-’D BY go
FOR THE WESTERN DISTRICT oF TENNESSEE 05 '
WESTERN DIVISION JUL 39 PH lz; 27
SHARRON BESSENT, CLEHK 3’§@‘?\,1 15111,1 _
Plaintlff, ` '
vs. No. 04-2522_B/v

DYERSBURG STATE COMMUNITY
COLLEGE, and DR. KAREN BOWYER,
Individually and in her official capacity
as President of Dyersburg State
Community College,

Defendants.

ORDER OF REFERENCE
The above action is hereby referred to the Honorable Diane K. Vescovo, U.S.

Magistrate Judge, for the purpose of conducting a Scheduling conference
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J. DANIEL BREEN
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IT IS SO ORDERED.

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
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Honorable J. Breen
US DISTRICT COURT

